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David Stebbins (pro se Plaintiff)
123 W. Ridge Ave.,
APT D
Harrison, AR 72601
(870) 212-4947
acerthorn@yahoo.com

      UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF CALIFORNIA

DAVID STEBBINS,                                                             PLAINTIFF

VS.                                  Case 3:21-cv-04184-JSW

KARL POLANO, et al                                                          DEFENDANTS

                    MOTION TO STRIKE [129] MOTION TO DISMISS
       Comes now, pro se Plaintiff David Stebbins, who hereby submits the following Motion to
Strike Dkt. 129, the corporate defendants' Motion to Dismiss.
   1. Moments before the individual defendants' filed their Motion to Dismiss, I filed a Notice
       of Voluntary Dismissal in the above-styled action. See Dkt. 128. This renders moot the
       corporate defendants' motion.
   2. The motion was filed before the corporate defendants had filed their answer or motion for
       summary judgment. Therefore, pursuant to FRCP 41(a)(1)(A)(i), the dismissal is
       automatic. The Court has no discretion to refuse it. See Commercial Space Management
       Co. v. Boeing Co., 193 F. 3d 1074, 1076 (9th Cir. 1999) ("a Rule 41(a)(1) dismissal, once
       filed, automatically terminates the action, and thus federal jurisdiction, without judicial
       involvement").
   3. Therefore, the Motion to Dismiss should be struck, and its contents should not be
       considered moving forward.
                                                                                 /s/ David Stebbins
                                                                                     David Stebbins
                                                                                123 W. Ridge Ave.,
                                                                                             APT D
                                                                               Harrison, AR 72601
                                                                                     (870) 212-4947
                                                                             acerthorn@yahoo.com


Case 3:21-cv-04184-JSW                                                      MOTION TO STRIKE
